                            UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                   EL PASO DIVISION




 UNITED STATES OF AMERICA,

                    Plaintiff,

        v.                                                      Civ. A. No. 3:21-cv-173

 THE STATE OF TEXAS and GREG
 ABBOTT, in his official capacity as Governor
 of the State of Texas,

                    Defendants.




                        DECLARATION OF DAVID SHAHOULIAN

       I, David Shahoulian, pursuant to 28 U.S.C. § 1746 and based upon my personal knowledge,

as well as documents and information made known or available to me from official records and

reasonably relied upon by me in the course of my employment, hereby declare as follows:

   1. I am the Assistant Secretary for Border and Immigration Policy at the Department of

Homeland Security (DHS or Department) and have been in this role since January 20, 2021. I

previously served as Deputy General Counsel at DHS from June 29, 2014 to January 19, 2017.

   2. I submit this declaration to address Defendants’ assertion that the federal government is

simply releasing detained noncitizens from federal custody without testing and other consequent

management protocols in place.

   3. Contrary to the Defendant’s claims, the Department has taken extraordinary steps to

develop systems to facilitate testing, isolation, and quarantine of those individuals encountered at

the border who are not immediately returned to their home countries pursuant to the Centers for
Disease Control and Prevention’s (CDC) Order Suspending the Right to Introduce Certain Persons

from Countries where a Quarantinable Communicable Disease Exists [“CDC Order”], (Aug. 2.

2021) (replacing and updating the October 16, 2020 Order).

    4. The large majority of single adults encountered between ports of entry are promptly

expelled pursuant to the CDC Order. Those who are not expelled are generally transferred to U.S.

Immigration and Custom Enforcement (ICE) custody. For such individuals, COVID-19 testing

occurs upon intake into an ICE facility. Those who test positive for, or who have been exposed

to, COVID-19 are cohorted to reduce the possibility of transmission.

    5. Noncitizen family units encountered between ports of entry are either transferred to ICE-

run or ICE-contracted facilities or released directly from CBP facilities. Those transferred to ICE

custody are, like single adults transferred to ICE custody, tested upon intake and separated

according to test result. Those released directly from CBP facilities are generally provided testing

either prior to or immediately after release from CBP custody. This testing is conducted by a

variety of partners, including state and local governments, non-governmental organizations

(NGOs), and third-party contractors. For any of these family members who test positive for

COVID-19 immediately after release, DHS has coordinated with appropriate state, local, and NGO

partners for the provision of accommodations so that the family members can properly isolate

and/or quarantine consistent with public health protocols. In the Del Rio sector, 1 the Department

set up a system for testing and non-congregate sheltering involving third-party contractors and

ICE-run or ICE-contracted facilities. Those who test negative are released from custody, and those

who test positive are transferred to ICE custody where they are subject to quarantine and isolation.




1
 The Del Rio Sector covers a 245-mile stretch of the U.S.-Mexico border along the Rio Grande River and Lake
Amistad.
Due to infrastructure and resource limitations, it is not feasible to replicate this latter system across

the border.

    6. Unaccompanied children (UCs) who are encountered at the border are transported to the

Department of Health and Human Services, which facilitates their testing for COVID-19. UCs are

released only after having undergone testing, quarantine and/or isolation, if required, and

vaccination when possible.

                                        Executed on August 3, 2021.




                                        _______________________________________
                                        David Shahoulian
                                        Assistant Secretary for Border and Immigration Policy
                                        U.S. Department for Homeland Security
